Case 1:22-cv-03897-LAK Document 55 Filed 06/14/22 Page 1 of 12
Case 1:22-cv-03897-LAK Document 44 Filed 06/01/22 Page 1 of 11

USDC SDNY
DOCUMENT
UNITED STATES DISTRICT COURT ELECTRONICALLY FILED
SOUTHERN DISTRICT OF NEW YORK DOC #:
DATE FILED: 6 / 14/2

SECURITIES AND EXCHANGE COMMISSION,
Plaintiff,

22 Civ. 3897 (LAK)

-against-

STRAIGHTPATH VENTURE PARTNERS LLC,
etal,

Defendants.

STIPULATION AND [PROPSSEBFCONSENT ORDER IMPOSING PRELIMINARY
INJUNCTION AND OTHER RELIEF

WHEREAS the Securities and Exchange Commission (the “Commission” filed this action
on May 13, 2022, against Defendants StraightPath Venture Partners LLC (the “SP Fund Manager”),
StraightPath Management LLC (the “SP Adviser’), Brian K. Martinsen (“Martinsen”), Michael A.
Castillero (“Castillero”), Francine A. Lanaia (“Lanaia”), and Eric D, Lachow (collectively,
“Defendants”);

WHEREAS, also on May 13, 2022, the Commission filed an emergency application for an
order to show cause, temporary restraining order, preliminary injunction, asset freeze, receiver, and
other relief (kt Nos, 5-12) (the “Emergency Application”);

WHEREAS, also on May 13, 2022, the Court entered an Order to Show Cause, ‘Temporary
Restraining Order, and Order Freezing Assets and Granting Other Relief (Dkt. No. 16) (the
“TRO”;

WHEREAS the Court has subject matter jurisdiction over this action putsuant to Section
22(a) of the Securities Act of 1933 (“Securities Act’) [15 U.S.C. § 77 v(a)], Sections 27 of the
Securities Exchange Act of 1934 (“Exchange Act”) [15 U.S.C. § 78aa], and Section 214(a) of the

Investment Advisers Act of 1940 (“Advisers Act”) [15 U.S.C. § 80b-14(a)};
Case 1:22-cv-03897-LAK Document 55 Filed 06/14/22 Page 2 of 12
Case 1:22-cv-03897-LAK Document 44 Filed 06/01/22 Page 2 of 11

WHEREAS venue is proper in this District pursuant to Securities Act Section 22(a) [15
U.S.C. § 77v(a)], Exchange Act Section 27 [15 U.S.C. § 78aa], and Advisers Act Section 214 [15
U.S.C, § 80b-14];

WHEREAS the Court has scheduled a hearing on the Emergency Application for June 1,
2022, at 3:00 p.m.; and

WHEREAS to resolve these disputes and the issues raised by the Commission’s motion, the
Commission and the Defendants have reached an agreement resolving the Emergency Application
and stipulate to the terms of this Preliminary Injunction, and Defendants will not oppose the
enforcement of this Order on the pround, if any exists, that it fails to comply with Rule 65(d) of the
Federal Rules of Civil Procedure and hereby waive any objection based thereon but without any
waiver of the Defendants’ rights to contest all claims, allegations, and causes of action asserted
against them in this action;

NOW THEREFORE:
I.

IT IS HEREBY ORDERED that, pending final disposition of this action, Defendants ate
restrained and enjoined from violating Securities Act Section 17(a) [15 U.S.C. § 77q(a)], in the offer
ot sale of any security by the use of any means or instruments of transportation or communication
in interstate commerce or by use of the mails, directly ot indirectly:

(a) to employ any device, scheme, or artifice to defraud;

(b) to obtain money or property by means of any untrue statement of a material fact or

any omission of a material fact necessary in order to make the statements made, in

light of the circumstances under which they were made, not misleading; or
Case 1:22-cv-03897-LAK Document 55 Filed 06/14/22 Page 3 of 12
Case 1:22-cv-03897-LAK Document 44 Filed 06/01/22 Page 3 of 11

(c) to engage in any transaction, practice, or course of business which operates or would
operate as a fraud or deceit upon the purchaser.

IT IS FURTHER ORDERED that, as provided in Federal Rule of Civil Procedute

65(d) (2), the foregoing paragraph also binds the following who receive actual notice of this Order by
personal service or otherwise: (a) Defendants’ officers, agents, servants, employees, and attorneys;
and (b) other persons in active concert or participation with Defendants or with anyone described in
(a).

II.

IT IS FURTHER ORDERED that, pending final disposition of this action, Defendants
are restrained and enjoined from violating Exchange Act Section 10(b) [15 U.S.C. § 78)(b)} and Rule
10b-5 promulgated thereunder [17 C.F.R. § 240.10b-5], by using any means or instrumentality of
interstate commerce, or of the mails, or of any facility of any national securities exchange, in
connection with the purchase or sale of any security:

(a) to employ any device, scheme, or artifice to defraud;

(b) to make any untrue statement of a matetial fact or to omit to state a material fact
necessary in order to make the statements made, in the light of the circumstances
under which they were made, not misleading; or

(c) to engage in any act, practice, or course of business which operates or would operate
as a fraud or deceit upon any person.

IT IS FURTHER ORDERED that, as provided in Federal Rule of Civil Procedure

65(d)(2}, the foregoing paragraph also binds the following who receive actual notice of this Order by

personal service or otherwise: (a) Defendants’ officers, agents, servants, employees, and attorneys;
Case 1:22-cv-03897-LAK Document 55 Filed 06/14/22 Page 4 of 12
Case 1:22-cv-03897-LAK Document 44 Filed 06/01/22 Page 4 of 11

and (b) other persons in active concert or participation with Defendants or with anyone described in
(a).
Il.

IT IS FURTHER ORDERED that, pending final disposition of this action, Defendants
are restrained and enjoined from violating Advisers Act Section 206 [15 U.S.C, § 80b-6} and Rule
206(4)-8 promulgated thereunder [17 C.P.R. § 275.206(4)-8], by, while acting as an investment
adviser, using any means of instrumentalities of interstate commerce, ot any means ot instruments
of transportation or communication in interstate commerce, or by the mails or any facility of any
national securities exchange:

(a) to employ any device, scheme, or artifice to defraud any client or prospective client;

(b) to engage in any transaction, practice, or course of business which operates as a
fraud or deceit upon any client or prospective client;

(c) actitig as principal for his own account, knowingly to sell any security to or purchase
any security from a client, or acting as broker for a person other than such client,
knowingly to effect any sale ot purchase of any security for the account of such
client, without disclosing to such client in writing before the completion of such
transaction the capacity in which he is acting and obtaining the consent of the client
to such transaction; or

(d) to enpage in any acts, practices, or courses of business which are fraudulent,
deceptive, or manipulative.

FF IS FURTHER ORDERED that, as provided in Federal Rule of Civil Procedute

65(d)(2), the foregoing paragraph also binds the following who receive actual notice of this Order by

ersonal service or otherwise: (a) Defendants’ officers, agents, servants, employees, and attorneys;
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Case 1:22-cv-03897-LAK Document 55 Filed 06/14/22 Page 5 of 12
Case 1:22-cv-03897-LAK Document 44 Filed 06/01/22 Page 5 of 11

and (b) other persons in active concert or participation with Defendants or with anyone described in
(a).
IV.

IT IS FURTHER ORDERED that, pending final disposition of this action, Defendants
are restrained and enjoined from violating Securities Act Sections 5(a) and 5(c) [15 U.S.C. §§ 77e(a)
and (c)] by, directly or indirectly, in the absence of any applicable exemption:

(a) Unless a registration statement ts in effect as to a security, making use of any meatis
of instruments of transportation or communication in interstate commerce ot of the
mails to sell such security through the use or medium of any prospectus of
otherwise; or carrying or causing to be carried through the mails or in interstate
commerce, by any means or instruments of transportation, any such security for the
purpose of sale ot for delivery after sale; or

(b) Making use of any means ot instruments of transportation or communication in
interstate commerce or of the mails to offer to sell or offer to buy through the use or
medium of any prospectus ot otherwise any security, unless a registration statement
has been filed with the Commission as to such secuxity, or while the registration
statement is the subject of a refusal order or stop order or (prior to the effective date
of the registration statement) any public proceeding or examination under Secutities
Act Section 8 [15 U.S.C, § 77h}.

IT IS FURTHER ORDERED that, as provided in Federal Rule of Civil Procedure

65(d) (2), the foregoing paragraph also binds the following who receive actual notice of this Order by

personal service or otherwise: (a) Defendants’ officers, agents, servants, employees, and attorneys;
Case 1:22-cv-03897-LAK Document 55 Filed 06/14/22 Page 6 of 12
Case 1:22-cv-03897-LAK Document 44 Filed 06/01/22 Page 6 of 11

and (b) other persons in active concert or participation with Defendants or with anyone described in
fa).
Vv.

IT IS FURTHER ORDERED that, pending final disposition of this action, Defendants
are temporarily restrained from violating Exchange Act Section 15fa)(1) [15 U.S.C. § 780(a)(1)] by
making use of the mails or any means or instrumentality of interstate commerce to effect any
transactions in, or to induce or attempt to induce the purchase or sale of, any security (other than an
exempted security or commercial paper, bankers’ acceptances, or commercial bills) unless registered
as a broker or dealer in accordance with subsection Exchange Act Section 15(b) [15 U.S.C.

§ 780(b)}.

IT IS FURTHER ORDERED that, as provided in Federal Rule of Civil Procedure
65(d)(2), the foregoing paragraph also binds the following who receive actual notice of this Order by
personal service or otherwise: (2) Defendants’ officers, agents, servants, employees, and attorneys;
and (b) other petsons in active concett or patticipation with Defendants or with anyone described in
(a).

VIL

IT IS FURTHER ORDERED that, Mel \ ' oe until further Order
of this Court, be and hereby is appointed to act as Receiver {the “Receiver”} for the SP Fund
Manager, the SP Adviser, the SP Funds, and the Escrow Funds, as defined in Section VII below
(collectively, the “Recetvetship Estate”), subject to all of the terms and conditions set forth in the

Consent Order Appointing Receiver entered herewith (“Receiver Order’”).’

The SP Funds are SP Ventures Fund LLC, SP Ventures Fund 2 LLC, SP Ventures Fund 3
LLC, SP Ventures Fund 4 LLC, SP Ventures Fund 5 LI.C, SP Ventures Fund 6 LLC, SP Ventures
Fund 7 LLC, SP Ventures Fund 8 LLC, and SP Ventures Fund 9 LLC.

6
Case 1:22-cv-03897-LAK Document 55 Filed 06/14/22 Page 7 of 12
Case 1:22-cv-03897-LAK Document 44 Filed 06/01/22 Page 7 of 11

VIL.

IT IS FURTHER ORDERED that no person or entity, including any creditor or claimant
against any of the Receivetship Entities, ot any person acting on behalf of such creditor or claimant,
shall take any action to interfere with the taking control, possession, or management of the assets,
including, but not limited to the filing of any lawsuits, liens or encumbrances or bankruptcy cases to
impact the property and assets subject to this Order and the Receiver Order.

VIII.

TIT IS FURTHER ORDERED that Martinsen, Castillero, and Lanaia shall pay
$15,000,000, phis the remainder of the unused retainer funds that Martinsen provided to Nardello &
Co. on or about May 9, 2022, which is at least $150,060 (collectively, the “Esctow Funds”), into a
segregated interest-bearing account established by and under the control of the Receiver. Martinsen,
Castillero, and Lanaia shall pay the Escrow Funds within five business days of the Receiver’s
appointment or the unfreezing of the personal financial accounts (bank and brokerage) identified in
Exhibit C to the Receiver Order (whichever is later), except that up to $2,100,000 may be paid later,
as set fotth in Section EX below. ‘The Escrow Funds shall be subject to all of the terms and
conditions set forth in the Receiver Order. The Receiver may direct up to $1,150,000 of the Escrow
Funds to a segregated operating account to be used for fees and expenses associated with the
operation of the receivership (such as, for example, fees to compensate the Recciver and persons
and entities retained to assist the Receiver), subject to the terms of the Receiver Order; the other
Escrow Funds shall not be available to fund operating expenses.

IX.
r'¥ IS FURTHER ORDERED that Mattinsen, Castillero, Lanaia, and any and all thitd

parties shall not sell, dispose of, or otherwise encumber any real or commercial property owned by
Case 1:22-cv-03897-LAK Document 55 Filed 06/14/22 Page 8 of 12
Case 1:22-cv-03897-LAK Document 44 Filed 06/01/22 Page 8 of 11

Martinsen, Castillero, and/or Lanaia, whether directly or indirectly, including, without limitation, the
properties listed on Exhibit A hereto, without further Order of this Court, except that Castillero may
proceed with the pending sale of the real property at 4083 Old Saint Lucie Boulevard, Stuart,
Plorida, 34996, provided such sale is concluded no later than June 10, 2022. Castillero shall
contribute the net sale proceeds of such sale, amounting to not less than $2,100,000, into the
Escrow Funds within five business days of the closing of the sale, which is currently scheduled for
June 3, 2022, If the pending sale does not close by June 10, 2022, or the net sale proceeds are less
than $2,100,000, Martinsen, Castillero, and Lanaia are responsible for fully ensuring that all Escrow
Funds are paid by no later than June 17, 2022 subject to Paragraph VIII above. If the pending sale
does not close by June 10, 2022, the real property at 4083 Old Saint Lucie Boulevard, Stuart, Florida,
34996, shall be added to the list of properties on Exhibit A hereto, without further order of this
Court.
X.

IT IS FURTHER ORDERED that nothing in this Order prohibits the Commission or
the Receiver, as appropriate, from seeking further relief from the Coutt either freezing or attaching
any additional personal assets of Martinsen, Castillero, and Lanaia, or seeking additional Escrow

Funds,
Case 1:22-cv-03897-LAK Document 55 Filed 06/14/22 Page 9 of 12
Case 1:22-cv-03897-LAK Document 44 Filed 06/01/22 Page 9 of 11

XI.

IT IS FURTHER ORDERED that the SP Fund Manager, the SP Adviser, Martinsen,
Castillero, and Lanaia serve upon the Commission, within fourteen (14) days, or within such
extension of time as the Commission agrees to in writing or that the Court grants upon request, a
verified written accounting signed by Martinsen, Castillero, and Lanata identifying (i) the current
assets, money, and property held directly or indirectly by the Receivership Entities, Martinsen,
Castillero, and/or Lanaia, or by others for the direct or indirect beneficial interest of the
Receivership Entities, Martinsen, Castillero, and/or Lanaia, as well as the current assets, money, and
property held by all immediate family members of Mattinsen, Castillero, and/ot Lanaia; and (ii) the
use of all investor funds raised by the SP Fund Manager, the SP Adviser, and the SP Funds.
Martinsen, Castillero, and Lanaia shall serve such sworn statements on the Commission’s counsel,

Lee A. Greetrwood and Philip A. Fortino, by email sent to GreenwoodL@sec.gov and

FortinoP@sec.gov.

Notwithstanding the foregoing, the Individual Defendants shall reserve any rights they may
have to decline to provide a verified accounting under the Fifth Amendment of the United States
Constitution, and nothing in this Order shall be construed as a waiver of theit Fifth Amendment
rights.

XII.

If IS FURTHER ORDERED that Defendants, and any person or entity acting at their
direction or on their behalf, are restrained and enjoined from destroying, altering, concealing, or
otherwise interfering with the access of the Commission and the Receiver to, any and all documents,
books and records, that are in the possession, custody or control of Defendants, and each of their

officers, agents, employees, setvants, accountants, financial or brokerage institutions, attorneys-in-
Case 1:22-cv-03897-LAK Document 55 Filed 06/14/22 Page 10 of 12
Case 1:22-cv-03897-LAK Document 44 Filed 06/01/22 Page 10 of 11

fact, subsidiaries, affiliates, predecessors, successors and related entities, that refer, reflect or relate to
the allegations in the Complaint, including, without limitation, documents, books, and tecords
referring, reflecting or relating to the Receivership Entities’, Martinsen’s, Castillero’s, and/or
Lanaia’s finances or business operations.

XIII.

IT IS FURTHER ORDERED that this Order shail be, and is, binding upon Defendants,
and each of their respective officers, agents, servants, employees, attorneys-in-fact, subsidiaries,
affiliates and those persons in active concert or participation with them who receive actual notice of
this Order by personal service, facsimile service, or otherwise.

XIV.

IT IS FURTHER ORDERED that the TRO is hereby vacated and teplaced with this
Order and the Receiver Order. Accordingly, the personal asset freeze imposed by the TRO on
Martinsen, Castillero, and Lanaia is hereby lifted, subject to the restraints on theit teal estate assets

set forth in Section IX, above.

STIPULATED AND AGREED BY:

Dated: New York, NY

June 1, 2022 /s/ Lee A. Greenwood
Lee A, Greenwood
Philip A. Fortino
SECURITIES AND EXCHANGE

COMMISSION

New York Regional Office
100 Pearl Street, Suite 20-100
New York, NY 10004
(212) 336-1100
Greenwoodl_@sec.gov
FortinoP@sec.gov

10
Case 1:22-cv-03897-LAK Document 55 Filed 06/14/22 Page 11 of 12
Case 1:22-cv-03897-LAK Document 44 Filed 06/01/22 Page 11 of 11

Dated: New York, NY
June 1, 2022 /s/ Samson Enzer

Samson Enzer
Brian Markley
CAHILL GORDON & REINDEL
32 Old Slip
New York, NY 10005
(212) 701-3125
SEnzer@cahill. com
BMarkley@cahill. com

/s/ Scott Sherman

Scott Sherman

Josh Lewin

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Scott Sherman@nelsonmullins.com

Josh.Lewin@nelsoomullins.com

Attorneys for Defendants StraightPath Venture Partners
LLC, StraightPath Management LLC, Brian K. Martinsen,
Michael A. Castiflero, Francine A. Lanaia, and Exie D.
Lachow

SO ORDERED.
Dated: June Av. 2022

New York, New York
Issue) ah? SO

Hon, Lewis A. Kaplard
United States ne

11
Case 1:22-cv-03897-LAK Document 55 Filed 06/14/22 Page 12 of 12
Case 1:22-cv-03897-LAK Document 44-1 Filed 06/01/22 Page 1 of 1

EXHIBIT A*

1125 SW Ma

City, FL Commercial BMF Realty, LLC

1772 NE Ocean Blvd, Stuart FL** Residential Michael and Nikki Castillero
24 Haywood St, Staten Island, NY Residential Michael and Nikki Castillero
5612 SW Peach Palm Place, Palm

City, FL Residential Michael Castillero

5663 SW Quail Hollow Trail, Palm

City, FL** Residential Nikki Mazzola

17920 Gulf Blvd Apt 1607,

Redington Shores, FL Residential Francine Lanaia

Sandpine Lane, lobe Sound, Fl

(under construction) Residential Francine Lanaia

4 Williamsburg Drive, Fort Salonga,

New York Residential Francine Lanaia

14 Sullivan Ave Farmingdale, New

York Rental Home EM] Realty, LLC

238 Southwest Palm Cove Drive,

Palm City, FL Residential Brian and Amanda Mattinsen
3 Northfield Lane, St James, NY Residential Niss LLC

*Inclusion of real estate identified in Exhibit A is not an admission or reference that any property constitutes, is
derived from, or is traceable to proceeds of the alleged securities law violations asserted by the SEC.

**This property is currently listed for sale. In the event that a buyer agrees to buy the property, Michael Castillero
intends to file a motion with the Court requesting leave to permit the sale to close.

*4Tnclusion of 5663 SW Quail Hollow Trail is not an admission that Brian Martinsen, Fran Lanaia, or Michael
Castillero have direct or indirect ownership of this property or a legal property interest in this property.
